
PER CURIAM.
We affirm Juan Francisco Montanez's judgment and sentence for trafficking in twenty-eight grams or more of heroin and possession of drug paraphernalia, but we reverse and remand the imposition of the $100 cost for the FDLE Operating Trust Fund pursuant to section 938.055, Florida Statutes (2018). The trial court failed to orally pronounce this cost at sentencing. See *1266Cain v. State, 197 So.3d 1096, 1096 (Fla. 1st DCA 2016) (reversing and remanding $100 cost for FDLE Operating Trust Fund pursuant to section 938.055, because trial court failed to orally pronounce cost at sentencing hearing but noting that trial court could reimpose cost on remand). On remand, however, the trial court may reimpose the FDLE Operating Trust Fund cost after following the proper procedure. See Oliver v. State, 75 So.3d 349, 350 (Fla. 1st DCA 2011) (reversing imposition of discretionary fines and permitting trial court to reimpose the fines on remand "by following the proper procedure, which includes individually announcing each assessment and the authority for each"). In all other respects, we affirm.
AFFIRMED in part; REVERSED in part; and REMANDED.
BERGER, HARRIS and GROSSHANS, JJ., concur.
